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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                              §   CASE NO. 19-33443-H2-7
                                                    §
WILLIAM S. MARTIN and                               §
JENNIFER A MARTIN,                                  §
   Debtor                                           §   CHAPTER 7
                                                    §
WELLS FARGO BANK, N.A.,                             §
   Movant                                           §   HEARING DATE: 08/26/2019
                                                    §
v.                                                  §   TIME: 01:30 PM
                                                    §
WILLIAM S. MARTIN and                               §
JENNIFER A MARTIN; and RANDY                        §
W. WILLIAMS, Trustee                                §
    Respondents                                     §   JUDGE DAVID R. JONES

MOTION FOR RELIEF FROM THE STAY REGARDING NON-EXEMPT PROPERTY
                   AND REQUEST FOR VARIANCE

THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF YOU OBJECT TO THE GRANTING OF
RELIEF FROM THE AUTOMATIC STAY, YOU SHOULD CONTACT THE MOVANT IMMEDIATELY TO TRY
TO REACH AN AGREEMENT. IF YOU CANNOT REACH AN AGREEMENT, YOU MUST FILE A WRITTEN
RESPONSE AND SEND A COPY TO MOVANT NOT LATER THAN AUGUST 19, 2019 AND YOU
MUST ATTEND THE HEARING.

THE COPY SENT TO THE MOVANT MUST BE DELIVERED BY HAND OR ELECTRONIC DELIVERY IF IT IS
SENT LESS THAN 7 DAYS PRIOR TO THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
HEARING MAY BE AN EVIDENTIARY HEARING AND THE COURT MAY GRANT OR DENY RELIEF FROM
THE STAY BASED ON THE EVIDENCE PRESENTED AT THIS HEARING. IF A TIMELY OBJECTION IS
FILED, THE COURT WILL CONDUCT A HEARING ON THIS MOTION ON AUGUST 26, 2019 AT 1:30 PM IN
COURTROOM 400, 515 RUSK AVENUE, 4TH FLOOR, HOUSTON, TX 77002.

                                           Request for Variance

1. Pursuant to National Servicing Standards, Movant must state the name of the entity that may
proceed with foreclosure once the automatic stay is terminated in the instant bankruptcy case.
Therefore Movant requests a variance to include the additional disclosures in the motion.

2. The pay history attached to and filed with this motion does not begin with the inception of
the loan. A pay history from at least as far back as the date the debtor was last current is,
however, attached to this motion and that pay history reflects the payments and their application
for the period of the alleged default. Movant therefore requests that a variance from the
requirement that a pay history from inception be filed because it is not relevant to this Motion.



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the loan was last current and is dispositive of the alleged default.
3. This Motion requests an order from the Bankruptcy Court authorizing the person filing this
motion to foreclose on or to repossess the property that is identified in paragraph 6.

4. Movant: WELLS FARGO BANK, N.A.

5. Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The
promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly
or through an agent, has possession of the promissory note. Creditor is the original mortgagee or
beneficiary or the assignee of the mortgage or deed of trust.

6. Movant, directly or as agent for the holder, holds a security interest in certain real property of
the Debtor(s) having an address of

     1470 MERION DR
     MOUNT DORA, FL 32757-8721

and a legal description of:
     LOT 2, WOLF CREEK RIDGE PHASE 1, ACCORDING TO THE MAP OR PLAT
     THEREOF, AS RECORDED IN PLAT BOOK 57, PAGE(S) 77 THROUGH 82,
     INCLUSIVE, OF THE PUBLIC RECORDS OF LAKE COUNTY, FLORIDA.

7. Movant has reviewed the schedules filed in this case. The property described in paragraph 6
is not listed on debtor(s)' Schedule C.

8. Type of collateral (e.g. Home, Manufactured Home, Car, Truck, Motorcycle): Real Estate
property Home.

9. Debtor’s scheduled value of property: $250,000.00.

10. Movant’s estimated value of property: $250,000.00.

11. As of July 16, 2019, the total amount owed to movant: $281,227.25.

12. Estimated equity (paragraph 10 minus paragraph 11): $-31,227.25.

13. As of July 16, 2019, the total pre and post-petition arrearages: $25,001.12.

14. As of July 16, 2019, the total post-petition arrearages: $2,098.43.

15. Amount of unpaid, past due property taxes, if applicable: N/A.

16. Expiration date on insurance policy, if applicable: N/A.



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17.      X          Movant seeks relief based on the debtor(s)' failure to make payments, lack of
equity in the collateral, and the surrender of the collateral by Debtor. Debtor(s)’ payment
history is attached as exhibit “A”. Movant represents that the attached payment history is a
current payment history reflecting all payments, advances, charges and credits dating as far back
as the Movant was able to obtain records for the loan and that the loan was current at the time
the pay history begins or became current sometime thereafter and this fact is reflected on the
payment history. Movant further represents that the payment history is self explanatory or can
be interpreted by application of coding information that is also attached. Movant acknowledges
that the Court may prohibit the use of parol evidence to interpret a payment history that does not
satisfy these representations.

18.              Movant seeks relief based on the debtor(s)' failure to provide a certificate of
insurance reflecting insurance coverage as required by the debtor's pre-petition contracts.

19. Name of Co-Debtor: Not Applicable

20. Based on the foregoing, movant seeks termination of the automatic stay to allow movant to
foreclose or repossess the debtor(s)’ property and seeks to recover its costs and attorneys’ fees in
an amount not to exceed the amount listed in paragraph 12.

21. Movant certifies that prior to filing this motion an attempt was made to confer with the
Debtor(s)’ counsel (or with Debtor(s), if pro se) either by telephone, by email or by facsimile, by
the following person on the following date and time:

Mitchell Buchman sent an email to debtor's counsel and the trustee regarding this property.

July 19, 2019 at 10:19 a.m.

An agreement could not be reached. If requested by debtor and debtor's counsel, a payment
history in the form attached to this motion was provided at least two days, excluding
intermediate weekends and holidays, before this motion was filed.


Date: 07/23/2019                      /s/ MITCHELL BUCHMAN
                                      MITCHELL BUCHMAN
                                      TX NO. 03290750
                                      S.D. TX NO. 6328
                                      1900 ST. JAMES PLACE SUITE 500
                                      HOUSTON, TX 77056
                                      Telephone: (713) 621-8673
                                      Facsimile: (713) 621-8583
                                      E-mail: SDECF@BDFGROUP.COM
                                      ATTORNEY FOR MOVANT




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              Certificate of Service and Certificate of Compliance with BLR 4001

        A copy of this motion was served on the persons shown on exhibit “1” at the addresses
reflected on that exhibit on July 23, 2019 via electronic means as listed on the Court's ECF
Noticing System or by prepaid United States first class mail. Movant certifies that movant has
complied with Bankruptcy Local Rule 4001.

                                      /s/ MITCHELL BUCHMAN
                                      MITCHELL BUCHMAN
                                      TX NO. 03290750
                                      S.D. TX NO. 6328
                                       1900 ST. JAMES PLACE SUITE 500
                                       HOUSTON, TX 77056
                                       Telephone: (713) 621-8673
                                       Facsimile: (713) 621-8583
                                       E-mail: SDECF@BDFGROUP.COM
                                       ATTORNEY FOR MOVANT




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                                                EXHIBIT 1

DEBTORS:
WILLIAM S. MARTIN
936 WHITENING LN
936 WHITENING LN
COLLEGE STATION, TX 77840

WILLIAM S. MARTIN
1470 MERION DR
MOUNT DORA, FL 32757-8721

JENNIFER A MARTIN
936 WHITENING LN
COLLEGE STATION, TX 77840

JENNIFER A MARTIN
1470 MERION DR
MOUNT DORA, FL 32757-8721

TRUSTEE:
RANDY W. WILLIAMS
7924 BROADWAY
SUITE 104
PEARLAND, TX 77581

US TRUSTEE:
515 RUSK AVE
SUITE 3516
HOUSTON, TX 77002

DEBTOR'S ATTORNEY:
FRANK STEELMAN
1810 GREENFIELD PLAZA
BRYAN, TX 77802

PARTIES IN INTEREST:
None

PARTIES REQUESTING NOTICE:
SYNCHRONY BANK C/O PRA RECEIVABLES MANAGEMENT, LLC
VALERIE SMITH
PO BOX 41021
NORFOLK, VA 23541




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